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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                              Plaintiff,

               - against -                          Case No. 1 :20-cv-03010-APM

Google LLC,

                              Defendant.


               [PROPOSED] ORDER FOR ADMISSION PRO HAC VICE OF
                             MICHAEL A. LANCI

         Upon consideration of the motion of Apple Inc. seeking the admission pro hac vice of

 Michael A. Lanci and the Declaration of Michael A. Lanci submitted in support of the Motion,

 it is HEREBY ORDERED that the Motion for Admission Pro Hac Vice of Michael A. Lanci is

 GRANTED.




                                                  Hon. Amit P. Mehta
                                                  United States District Judge
